           Case 1:17-cr-10265-DJC Document 34 Filed 06/19/18 Page 1 of 9



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

        Plaintiff,

                V.



SALLY ANN JOHNSON,
                                                       Court No. 1:17-CR-10265-001-DJC
        Defendant,

                and

JPMORGAN CHASE BANK, N.A.,

        Gamishee.

               CLERK'S NOTICE OF POST-JUDGMENT GARNISHMENT

TO:     Sally Ann Johnson
        Alderson, WV

       YOU ARE HEREBY NOTIFIED that the United States is taking all funds and property

in the custody, possession, or control of theGamishee, JPMorgan Chase Bank, N.A. (the

"Gamishee"), to apply to thejudgment entered against youonJanuary 17,2018 in the United
States District Court for the District of Massachusetts. The current total balance is

$4,269,836.34, plus accminginterestat the rate of 1.880% percentper day.

       YOU ARE FURTHER NOTIFIED that there are exemptions under the law that may

protect some of your property from gamishment bythe United States ifyou can show the
exemptions apply. Theexemptions that apply arelisted in 28U.S.C. § 3613. Attached is a

summary of the exemptions that mayapply. You havethe right to ask the Courtto retum your

property toyou if one oftheattached exemptions applies or if you donotowe the debt that the
United States claims you do.
           Case 1:17-cr-10265-DJC Document 34 Filed 06/19/18 Page 2 of 9




       YOU ARE ALSO NOTIFIED that if you want a hearing,you must notify the court

within 20 days after receipt of this notice. You must make your request in writing, and either
mailit or deliver it in person to theClerk of the United States District Court, 1 Courthouse Way,

Suite 2300, Boston, MA02210. If youwish, youmay usethisnotice to request a hearing by

checking the space below and mailing this notice tothe Clerk ofthe United States District Court
at the aforementionedaddress. You must also send a copy of your request to Brendan T.

Mockler, Assistant U.S. Attorney, U.S. Attorney's Office, Financial Litigation Unit, 1

Courthouse Way, Suite 9200, Boston, MA02210, to notify theUnited States thatyouwant a

hearing. The hearing will take place within 5 business days after theClerk receives your request,

if you askfor it to take place that quickly, or as soon aspossible thereafter.
       Atthehearing, you may explain to thejudge why youbelieve theproperty is exempt or

thatyou donotowe themoney thatthe United States claims you do. If youdonotrequest a
hearing within 20 days ofreceiving this notice, your funds orproperty may bewithheld orsold at
public auction and applied to thejudgment debtowed.

        If you live outside thefederal judicial district inwhich the Court is located, youmay
request, not later than 20 days after you receive this notice, that this proceeding be transferred by
the Court tothe federal judicial district inwhich you reside. You must make your request in
writing, and either mail it ordeliver itinperson tothe Clerk ofthe United States District Court, 1
Courthouse Way, Suite 2300, Boston, MA 02210. You must also send a copy ofyourrequest to
Brendan T. Mockler, Assistant U.S. Attorney, Financial Litigation Unit, 1 Courthouse Way,

Suite 9200, Boston, MA02210, to notify theUnited States of yourdesire to transfer the

proceeding.
           Case 1:17-cr-10265-DJC Document 34 Filed 06/19/18 Page 3 of 9



        Besure to keep a copyof this notice for yourown records. If youhaveany questions

about your rights or about this procedure, youshould contact a lawyer or an office of public legal

assistance. TheClerk is notpermitted to give legal advice, butcanreferyouto other sources of

information.

                                     ROBERT M. FARRELL
                                     Clerk, United States District Court



                                       emity Clerk
Date:
           Case 1:17-cr-10265-DJC Document 34 Filed 06/19/18 Page 4 of 9



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

        Plaintiff,

                V.



SALLVANN JOHNSON,
                                                       Court No. 1:17-CR-10265-001-DJC
        Defendant,

                and

JPMORGAN CHASE BANK, N.A.,

        Gamishee.

                     NOTICE OF GARNISHMENT AND INSTRUCTIONS

TO:     Sally Ann Johnson
        Alderson, WV

       YOU ARE HEREBY NOTIFIED that the United States is taking all funds and property

in the custody, possession, or control of the Gamishee, JPMorgan Chase Bank, N.A. (the

"Gamishee"), to apply to thejudgmententeredagainstyou on January 17,2018 in the United

States District Court for the District of Massachusetts.

       Unless you file a writtenobjection to the Gamishee'sAnswer and request a hearing

within 20 days afteryoureceive the Answer of theGamishee, theCourtwill enteran Orderfor

payment of funds heldby the Gamishee for application towards thejudgment debtowed.

       You must file any objection to the Gamishee's Answerwith the Clerkof the United

States District Court, 1 Courthouse Way, Suite 2300, Boston, MA 02210. The Court will
           Case 1:17-cr-10265-DJC Document 34 Filed 06/19/18 Page 5 of 9



schedule a hearing within 10days after the date theobjection is received by theCourt, or as soon

thereafter aspracticable. The Court will give notice of thehearing date to allthe parties.
       A copy of yourobjection or other pleadings must also be served on: (1)Brendan T.
Mockler, Assistant U.S. Attorney, U.S. Attorney's Office, Financial Litigation Unit, 1

Courthouse Way, Suite 9200, Boston, MA 02210; and (2) JPMorgan Chase Bank, N.A., located
in Boston, MA.

       Ifyou are unsurehow to proceed,you maywant to consultan attorney.


                                             Respectfullysubmitted,

                                              UNITED STATES OF AMERICA
                                              By its attorneys

                                              ANDREW E. CELLING
                                              United States Attomey

                                      By:     /s/ Brendan T. Mockler
                                              BRENDAN T. MOCKLER (BBO 569140)
                                              Assistant United States Attomey
                                              One Courthouse Way, Suite 9200
                                              Boston, MA 02210
                                              (617)748-3197
                                              brendan.mockler@usdoj.gov

Date: April 10,2018
            Case 1:17-cr-10265-DJC Document 34 Filed 06/19/18 Page 6 of 9



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

        Plaintiff,

                V.



SALLY ANN JOHNSON,
                                                       Court No. I ;17-CR-10265-001-DJC
        Defendant,

                and

JPMORGAN CHASE BANK, N.A.,

        Gamishee.

                                 REQUEST FOR HEARING


[ ]    I hereby request that the Courtconduct a hearing in the above matterbecause:

       [ ] Non-compliance withstatutory requirements for issuance of theremedy sought.

       r" 1Theproperty thattheUnited States is taking is exempt. Seeattached completed
            Claim for Exemption Form.

Send Notice of the hearing to me by mail at:




(Address)



Date                                           Signature of Defendant


                                               Defendant's typed or printed name
            Case 1:17-cr-10265-DJC Document 34 Filed 06/19/18 Page 7 of 9




                         CLAIM FOR EXEMPTION FORM
                         EXEMPTIONS UNDER FEDERAL LAW


NOTE:           Pursuant to 18 U.S.C.§ 3613(a)(1), only certainproperty exemptfrom levy
                pursuantto theInternal Revenue Code shall be exempt from enforcement
                of a criminal restitution and/or fine obligation under Federal Law.

        I claim thatthe exemption(s) from enforcement thatare checked below apply:

            no Wearing apparel and school books (26 U.S.C. § 6334(a)(1)).

            mi Fuel, Provisions, Furniture, and Personal Effects upto $9,380 (26 U.S.C. §
               6334(a)(2)).

            m] Books and tools of a trade, business, or profession upto $4,690 (26 U.S.C. §
        ^      6334(a)(3)).

            no Unemployment benefits (26 U.S.C. § 6334(a)(4)).
            m] Undelivered mail (26 U.S.C. § 6334(a)(5)).
            HE Certain annuity and pension payments (26 U.S.C. § 6334(a)(6)).
                     Annuity or pension payments under the Railroad
                     retirement     Act,   benefits   under   the   Railroad
                     Unemployment Insurance Act, special pension
                     paymentsreceived by a person whose name has been
                     entered on the Army, Navy, Air Force, and Coast
                     Guard Medal of Honor roll (38 U.S. C. § 1562), and
                     annuities based on retired or retainer pay under 10
                     U.S.C. § 73.

            HE Workmen's compensation (26 U.S.C. § 6334(a)(7)).

            HE Judgments for support ofminor children (26 U.S.C. §6334(a)(8)).
            Case 1:17-cr-10265-DJC Document 34 Filed 06/19/18 Page 8 of 9




           [m Certain service-connected disability payments (26U.S.C. § 6334(a)(10)).

                       Any amount payable to an individual as a service-
                       connected(within the meaning of section 101 (16)
                       of title 38, United States Code) disability benefit
                       under -
                                 (A) subchapter II, III, IV, V, or VI of
                                 chapter 11 of such title 38, or
                                 (B) chapter 13,21,23,31,32,34,35,37, or
                                 39 of such title 38.


         ^ H] Assistance under JobTraining Partnership Act(26 U.S.C. § 6334(a)(12)).
The statements made in this claim of exemptions and requestfor hearing as to exemption
entitlement and fair marketvalue of the propertydesignated are madeand declared underpenalty
of peijury that they are true and correct.

QD I hereby request a court hearing todecide the validity ofmy claims. Notice ofthe
hearing should be given to me by mail at:




                        (Address)




 Date                                             Signature of Defendant


                                                  Defendant's printed or typed name
             Case 1:17-cr-10265-DJC Document 34 Filed 06/19/18 Page 9 of 9




                          INSTRUCTIONS TO DEFENDANT ON
                              HOW TO CLAIM EXEMPTIONS


      TheUnitedStates has applied for a Writof Garnishment to be issued against all funds
andproperty belonging to theDefendant, Sally Ann Johnson, in thecustody, possession, or
control of the Gamishee, JPMorgan Chase Bank, N.A.

       The lawprovides thatcertainproperty cannotbe taken. Suchproperty is said to be
exempt. The attached Claim forExemption Form lists exemptions imder federal lawthatmay be
applicable. There is no exemption solely because you arehaving difficulty paying your debts.

       If you claim an exemption from garnishment, you should dothefollowing promptly:

       1.*     Fill out the attached Claim for Exemption Form.

       2.      Deliver or mail the Form to the Clerk's Office of the United States District Court,
               John Joseph Moakley United States Courthouse, 1Courthouse Way, Suite 2300,
               Boston, MA 02210.


       3.      Deliver or mail the Forms to the United States Attorney's Office, Financial
               Litigation Unit, 1 Courthouse Way, Suite 9200, Boston, MA 02210.

       If you elect, you have the rightto a hearing within five business days, or as soonas
possible, firom the date you file the completed Claim for Exemption Form with the Clerk. In
order torequest this hearing using the attached Claim for Exemption Form, you must check the
appropriate box. You will benotified as soon as possible ofthe date, time and place ofhearing.

       On the day ofthe requested hearing, you should come toCourt ready toexplain why your
property isexempt orthat you do not owe the money that the United States claims you do, and
you should bring any documentation that proves your case. Ifyou do not come to Court atthe
designated time and provide proofofyour argument, your rights may beaffected.

      If the listed exemptions on the Form are not applicable andyou do not claim an
exemption, ^ not complete andfile the Claim for Exemption Form.

       It maybe helpfulfor you to seekthe advice ofan attorney in thismatter.
